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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-MJ-8332-BER


 IN RE SEALED SEARCH WARRANT

 ________________________________/


                             PROPOSED ORDER TO UNSEAL

         The United States of America, having applied to this Court for an Order unsealing the

 Notice Regarding Additional Partial Unsealing of Search Warrant and its accompanying

 attachment, along with the motion to seal and order to seal associated with that filing, and the

 Court finding good cause:

         IT IS HEREBY ORDERED that the Notice Regarding Additional Partial Unsealing of

 Search Warrant and the accompanying attachment, along with its associated motion to seal

 and order to seal, Docket Entries 122, 123, 124, and 125, shall be unsealed.

         DONE AND ORDERED in chambers at Palm Beach County, Florida, this ____ day

 of September, 2022.




                                            ______________________________________
                                            UNITED STATES MAGISTRATE JUDGE
                                            SOUTHERN DISTRICT OF FLORIDA


 Deliver copy to:
